                             Case 3:17-cv-00558-SRU Document 214 Filed 04/03/18 Page 1 of 1
                                                                                                                        Civil- (Dec-2008)
                                                             HONORABLE: Stefan R. Underhill
                                     DEPUTY CLERKR. Jaiman / E. Kaas   RPTR/ECRO/TAPE Sharon Masse
         TOTAL TIME: 1                hours 30    minutes
                                        DATE:  4/3/18     START TIME: 2:30             END TIME: 4:00
                                                          LUNCH RECESS              FROM:                         TO:
                                                  RECESS (if more than ½ hr)        FROM:                         TO:

         CIVIL NO. 17-cv-558


                     Ontario Teachers' Pension Pl. Bd., et al                           Joseph Fonti, et al.
                                                                                                Plaintiff’s Counsel
                                       vs
                     Teva Pharmaceutical Ind. Ltd. et al.                               Jordan Hershman, et al.
                                                                                                Defendant’s Counsel

                                                  COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing                           Show Cause Hearing
                                Evidentiary Hearing                    Judgment Debtor Exam
                                Miscellaneous Hearing

         ✔ .....# 187 MotionMotion to Dismiss (gr w/o prejudice to repleading)          ✔ granted        denied         advisement
         ✔ .....#188 MotionMotion to Dismiss (gr w/o prejudice to repleading)           ✔ granted        denied         advisement
         ✔ .....#189 MotionMotion to Dismiss (gr w/o prejudice to repleading)           ✔ granted        denied         advisement
         ✔ .....#190 MotionMotion to Dismiss (gr w/o prejudice to repleading)           ✔ granted        denied         advisement
         ✔ .....#198 MotionMotion to Dismiss (gr w/o prejudice to repleading)           ✔ granted        denied         advisement
            .....#          Motion                                                         granted       denied         advisement
            .....#          Motion                                                         granted       denied         advisement
            .....           Oral Motion                                                    granted       denied         advisement
            .....           Oral Motion                                                    granted       denied         advisement
            .....           Oral Motion                                                    granted       denied         advisement
           .....            Oral Motion                                                    granted       denied         advisement
            .....              Briefs(s) due                    Proposed Findings due                Response due
           .............                                                                                      filed     docketed
           .............                                                                                       filed    docketed
           .............                                                                                       filed    docketed
           .............                                                                                       filed     docketed
            .............                                                                                      filed    docketed
            .............                                                                                      filed    docketed
            ............                          Hearing continued until                                at

Notes:
